Case 4:21-cv-03501 Document 1 Filed on 10/25/21 in TXSD Page 1 of 14

Appendix B

United States Co urts

Southern Distri
trict ef T
FILE D Cxas

UNITED STATES DISTRICT COURT ocT
SOUTHERN DISTRICT OF TEXAS UT 25 2024

DIVISION
Nathan Ochsner, Clerk of Court

twa Beal
versus
[Lousts. Roles, Rept
| 7" SN “chat ‘Jo¥33—
ORIGINAL COMPLAINT

CIVIL ACTION NO.

Or COR LOr? CO? (OR (CO? COD

 
xi

"Case 4:21-cV-03501 ‘Document 1° Filéd’on 10/25/21 in TXSD” Page 2 0f 14° 7 >

Appendix A

United Stat
2S Court
Southern District of Texas
FILE D

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS
DIVISION - OCT 25 2021

Nathan Ochsner, Clerk Of Court

Ta A Koil

versus

houston (olin Ce Vepathnat

J200 TRAVIS
laut 1G AL TEXAS 19900)

EMPLOYMENT DISCRIMINATION COMPLAINT

CIVIL ACTION NO.

 

COr SOD 6O? CO? tO? GO? COD

1. This action is brought under Title VI of the Civil Rights Act of 1964 for employment

discrimination. Jurisdiction is conferred by Title 42 United States Code, Section § 2000e-5.

 

 

 

 

 

 

 

2. The Plaintiffis: Tn A G EAL
Address: | | 4440 Logwé be.
ldouston Texas T70Y9_
County of Residence: H ARRAS
3. Thedefendant is: \4 DUS + on Voli Lie, Uepuchre net
Address: | R00 TRAVI S
ldouston, Téyas T0007
Oo _ Check here if there are additional defendants. List them on a separate sheet of paper with

their complete addresses.
4, The plaintiff has attached to this complaint a copy of the charges filed on
with the Equal Opportunity Commission.

5. On the date of (yh Nubu ft 202] , the plaintiff received a Notice of Right to Sue

 

letter issued by the Equal Employment Opportunity Commission; a copy is attached.
~--"-Casé 4:21-cv-0350I Document t~ Filed on 10/25/21 in TXSD” Paye 3 of 14 --

Because of the plaintiffs:

(a2) -O race

(b) Oo color:

(c) O ‘Sex

(d) Oo religion

(e) Oo national orgin,

the defendant has:

(a) Ct failed to employ the plaintiff

(b)

(). O
(d) \o

O

' terminated the plaintiff's employment

failed to promote the plaintift

otter Vp Sally 1a va sh cack Ue Cad Camp gs rh
G Leck nme. Rove. Calclotoni, UW "UL Anr MicPHerse x
‘David Summons nok Pd Areal to lope. oT

WETNESS RS Sladenasit

 

' When and how the defendant has discriminated against the plaintiff:

Lt storled Grom 2015 to 801G hy Rene Calderon) displayng
didpniate ts Lhe workplace, wanes moos, fav om bison,
putin idiot an, anid my clisab I ta, by mua ples so, me te Ao

 

. The plaintiff requests that the defendant be ordered:

(a)
(b)
(c)
(d)

O

O
O
Ol

to stop discriminating against the plaintiff

to employ the plaintiff

to re-employ the plaintiff

to promote the plaintiff
Case 4:21-cv-03501 Document 1 Filed on 10/25/21 in TXSD Page 4 of 14

Ina Beall

Charge No.: 460202000383
Closure date: 6" August 2021
#7 Question/Answer Continued,

What was instructed of me to do by my physician.

Zo bu
Case 4:21-cv-03501 Document 1 Filed on 10/25/21 in TXSD_ Page 5 of M4 Oo

(e) Ns

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w Rokeoeo ho. Vino Thogp Ca
Complanc | nlow, wy Nd all wo Suess
STatémmontt®, Gl lo. bu. Comp bana and that;

the Court grant other relief, including injunctions, damages, costs and

attorney’s fees.

fag Lape

(Signature of Plaintiff)

Address: 1420 |_ogwé Be.
Houston Texas 17049
Telephone: § 2a- bo0S- 6928

 

 

 
Case 4:21-cv-03501 Document 1 Filed on 10/25/21 in TXSD Page 6 of 14

_ EEOC Form 161 (11/2020) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

 

To: Ina L. Beall From: Houston District Office
14430 Lorne Dr Mickey Leland Building
Houston, TX 77049 1919 Smith Street, 7th Floor
Houston, TX 77002
[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

Araceli Castillo,
460-2020-00383 Investigator (346) 327-7721

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

BHOOOd

The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
determination about whether further investigation would establish violations of the statute. This does not mean the claims
have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UO

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will bé the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

(hoet, SA C astklbe- For 08/06/2021

 

Enclosures(s) Rayford O. Irvin, (Date Issued)
District Director
ce. Don Fleming Lowell Keig, Executive Director
Section Chief, Labor, Employment & Civil Rights TWC-Civil Rights Division
CITY OF HOUSTON 101 East 15" Street, Room 144-T
900 Bagby, 3rd Floor Austin, TX 78778-0001

Houston, TX 77002
Case 4:21-cv-03501 Document 1 Filed on 10/25/21 in TXSD Page 7 of 14

+ Enclosure with EEOC
Form 161 (11/2020)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS --

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
_ after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
Case 4:21-cv-03501 Document 1 Filed on 10/25/21 in TXSD Page 8 of 14

Enclosures(s)

°c Deidra A. Norris Sullivan

City of Houston Legal Department
PO Box 368
Houston, TX 77001
Case 4:21-cv-03501 Document 1 Filed on 10/25/21 in TXSD Page 9 of 14

My name is Ina Beall

Charge No.: 460202000383
Closure date: 6" August 2021
Address: 14430 Lorne Dr.
Houston, Texas 77049

Home/Cell Phone: 832-605-6928

Rene Caideron violated my rights by displaying disparate in the workplace, harassment, intimidation,
retaliation, and not allowing me to do what was instructed by my physician due to my disability.

| have endured this awful and terrifying treatment from Rene Calderon from June 2015 to October 2019.
| adhere to the Houston Police Department General Orders, Policies and Procedures. | have

reported Rene Calderon actions on several occasions to the ERC and ADR representatives and my
previous Sergeant.

| presented this information and | do not feel or it appeared they did a full investigation. | also

presented this information and | do not feel or it appeared they looked at all my evidence.

vA ba
Case 4:21-cv-03501 Document 1 Filed on 10/25/21 in TXSD Page 10 of 14

Ina Beall

Charge No.: 460202000383
Closure date: 6** August 2021
Address: 14430 Lorne Dr.
Houston, Texas 77049

Home/Cell. Phone: 832-605-6928

The court has jurisdiction because it resides in Harris County, Texas.

(A be
 

 

 

 

 

 

{EEOC Form 5 (14/09) Col ae
~ CHARGE. ‘OF DISCRIMINATION - | Charge Presented To: ‘Ageney(ies) Charge. No(s):
- This formiis affected by the Privacy ‘Act‘of 1974. See enclosed Privacy Act EY] FEPA
Statement and. other information before completing this form. os
a |X| EEOC - 460-2020-00383
Texas Workforce Commission Civil Rights Division. _ 7 and EEOC
a - _ State of local Agency, any. - cee . oo. ae
Name: (indicate Mr, Ms,, Mrs, ye Dol, : _ Home Phone (Incl. Area Cade) Date of Birth
Ms. Ina L. Beall os ae __ | (832) 605-6928

 

 

 

Street Address oT re a “City, State and ZIP Code . oe
14430 ) Lorne Dr, Houston, TX 77049 |

 

 

 

 

oem / tot : ” No. Employees, Members . “Phone: ‘No. “include Area 2 Code)
CITY OF HOUSTON oo a Co. ~~ | 500 or:More.-:

 

 

Street. Address - . a . City, State and.ZIP Code
4200 Travis St, Houston, 7 TX 77002 oe

 

 

Name’ oO 7 . on SO ._ No. Employees, Members Phone No. (Include Area Code)

 

 

 

Street Address 5 : Os: op: City, State and ZIP Code:

 

 

DISCRIMINATION BASED ON (Check appropriate box(es).) , DATE(S) DISCRIMINATION TOOK PLACE ~
Pe : . ‘Earliest : ~ Latest... :

[oe] RACE [ ~ ].covor [ ] SEX [_] reuicion NATIONAL ORIGIN. --06-30-2015 . - 10-20-2019.
po retauation [| ace [_X] bisaaury | Generic nrormarion a
: | OTHER (Specify) <2. 7 La conrmune acon

 

 

“THE PARTICULARS ARE (If. additional paper is needed, attach extra sheet(s)): mo
Seep On or around June 30, 2015, my new Desk Sergeant. began subjecting: me.to.a. hostile: work.
: ~ environment: Respondent i isa city. | work as Senior Police Service Offi cer in their Police .

“Department. oe
“AL Rene Calderon, Desk Sergeant, ‘a Hispanic male, mistreated me e by: not. allowing me to take o care of

However, on October 20, 2019, | received a letter from IAD stating that Calderon had filed a

complaint against, me for conduct, behavior, and insubordination: | believe that Calderon is

 

 

feb want this charge fi filed with. both the EEOC and the State or. tocal Agency, if any. | NOTARY — “When necessaly for State and Local ‘Agency: ‘Requirements

| cooperate fully with them in 1 the processing « of my charge i in accordance with their

 

procedures," 7. : a 1 swear or. affirm that | have read the: ‘above charge and: ‘that ith is true to

| declare under penalty of f perjury that the above | is true and correct. oe the best of my knowledge, information and belief.
: SIGNATURE OF COMPLAINANT

aa oo SUBSCRIBED AND SWORN To: BEFORE ME THIS DATE
Oct 25, 2019 (At | y (month, day, year:

Date . : Charging Party Signature

 

   

 

 

 

 
 

7 This fom ‘is affected by the: 5 Privacy ‘Act of 1974. See enclosed Privacy. Act
Statement and other information before completing this form. *

   

 

 

 

oa “Texas Workforce. Commission 1 Civil Rights Division
a wot Lo. —Siale or local Agency, ifany Es

 

 

 

 

 

   

 

 

:. },[want this charge filed with. both.the EEOC. and the State or local Agency, ifany. |}!
:. 1 will advise the agencies if, | change my address or phone. number and | will | Lot

 

 

 

 

1 terpttns ate | Sy oo Charging Party Signature ;

 

me SIGNATURE OF GOMPLAINANT

 

 

the best of my knowledge,. information and. belief.

 

   

 

 

 

   
» _ EEOG Form 5 (11/09)

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; Case 4:21-cv-03501 Document1 Filed on 10/25/21 in TXSD Page 13 of 14

 

 

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
- This form is affected by the Privacy Act of 1974. See enclosed Privacy Act FEPA
~ ‘Statement and other information before completing this form. . Ae Le aL
EEOC 460-2020-00383
Texas Workforce Commission Civil Rights Division and EEOC
. State or local Agency, if any

Name (indicate Mr. Ms., Mrs.) : Home Phone (inci. Area Code) Date of Birth
Ms. Ina L. Beall (832) 605-6928
Street Address City, State and ZIP Code —— :

44430 Lorne Dr, Houston, TX 77049

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.) .

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code)
CITY OF HOUSTON . 500 or More
Street Address City, State and ZIP Code

4200 Travis St, Houston, TX 77002

 

 

 

 

 

Name No, Employees, Members Phone No. (Include Area Code}

Street Address City, State and ZIP Cade

DISCRIMINATION BASED ON (Check appropriate box(es). DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

[| RACE [| COLOR C_] SEX [| RELIGION [| NATIONAL ORIGIN 06-30-2015 10-20-2019
RETALIATION [| AGE bd DISABILITY - [| GENETIC INFORMATION

OTHER (Specify) CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)):

|. Onor around June 30, 2015, my new Desk Sergeant began subjecting me to a hostile work
environment. Respondent is a city. | work as Senior Police Service Officer in their Police
Department.

Il. Rene Calderon, Desk Sergeant, a Hispanic male, mistreated me by not allowing me to take care of
city business on city time, refused to make corrections to my hours worked in KRONIOS, refusing
io assign rhe overtime, étc: ‘In 2017, he began giving n meé-a hard time about my disability by
refusing the accommodation of béing allowed to get up every-2-3 hours to alleviate pain as had
been granted to me by FMLA. On May 9, 2019, | filed an [AD complaint against Calderon in
which | also mentioned that he was not accommodating my disability. On October 4, 2019, ADR
was unable to help me as they stated that my IAD complaint against Calderon was still pending.

- . However, on October 20, 2019, | received a letter from IAD stating that Calderon had filed a
complaint against me for conduct, behavior, and insubordination. | believe that Calderon is
retaliating against me for complaining about disability discrimination.

 

 

 

 

 

 

 

 

yl want this charge filed with bath the EEOC and the State or local Agency, if any. 1 NOTARY — When necessary for State and Local Agency Requirements
| will advise the agencies if | change my address or phone number and | will : .
cooperate fully with them in the processing of my charge in accordance with their . : :
‘{ Procedures... ‘| | swear or affirm that I have read the ‘above charge and that iti is true to
| -f declare under penalty of perjury that the above is true and correct... . the best of my knowledge, information and belief. . ‘
. SIGNATURE OF COMPLAINANT
. UAC = SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
Oct 25, 2019 LV . oO (month, day, year)
Date / ; Charging Party Signature

 

 

 
Jos

wh

EEOC Form 5 (11/09)

* Case 4:21-cv-03501 Document 1. Filed on 10/25/21 in TXSD Page 14 of 14

 

CHARGE OF DISCRIMINATION

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act ©
Statement and other information before completing this form.

Charge Presented To: Agency(ies) Charge No(s):

[_] FEPA

EEOC 460-2020-00383

 

 

Texas Workforce Commission Civil Rights Division and EEOC

 

State or local Agency, if any

 

 

Ill.. | believe that | have been discriminated against because of my disability, and retaliated against, in
violation of the Americans with Disabilities Act of 1990, as amended.

 

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ferpealen 7 572 Tons

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pecan ce, fod fo

fet Fuo dager poe

eR AY, Joan

Dire -

 

{ want this charge filed with both the EEOC and the State or local Agency, if any. |
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their
procedures. |

NOTARY — When necessary for State and Local Agency Requirements

 

 

 

i declare under penalty of perjury that the above is true and correct.

Oct 25, 2019 Oe —_—

  

 

Date . Charging Party Signature

 

| swear or affirm that | have read the above charge and that it is true to
the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(month, day, year)

 

 

 
